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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


GREGORY J. LACH,                )
CONNIE R. LACH,                 )
                                )
               Plaintiffs       )
                                )
          v.                    )       Case No. 2:08 cv 251
                                )
UNITED STATES OF AMERICA,       )
through its Department of the   )
Interior and its National Parks )
Service,                        )
                                )
               Defendant        )
********************************)
UNITED STATES OF AMERICA,       )
through its Department of the   )
Interior and its National Parks )
Service,                        )
                                )
          Counter Claimant      )
                                )
          v.                    )
                                )
GREGORY J. LACH,                )
                                )
          Counter Defendant     )

                           OPINION AND ORDER

     This matter is before the court on the Motion for Summary

Judgment [DE 29] filed by the defendant and counterclaim plain-

tiff, the United States of America, on July 16, 2010, and the

Cross Motion for Summary Judgment [DE 39] filed by the plain-

tiffs, Gregory J. Lach and Connie R. Lachs, on September 7, 2010.

For the following reasons, the United States' Motion for Summary
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Judgment [DE 29] is GRANTED, and the plaintiffs' Cross Motion for

Summary Judgment [DE 39] is DENIED.

                               Background

     Gregory and Connie Lach own real estate commonly known as

5525 Stagecoach Road, Portage, Indiana.           Connie’s family leased

and farmed the property from 1940 until her father, Charles Ewen,

purchased it on April 29, 1994.         Ewen maintained the property up

to the southern edge of Stagecoach Road and, as a member of the

public, accessed Stagecoach Road at various points.              Ewen con-

veyed a parcel of the property to the Lachs on November 22, 2006,

and the Lachs now seek to quiet title to the parcel of land

dividing their property from Stagecoach Road.

     In 1978, the National Park Service took ownership of two

parcels of land to the north of and adjacent to the Lach and Ewen

parcels.   One of these parcels runs parallel to Stagecoach Road

and separates the Lachs' property from Stagecoach Road.               The deed

identifies this parcel as Tract 09-102 and provides that it is

subject to roads and highways.      The only road located on or

through this parcel is Stagecoach Road.           The United States

recorded the deed on January 17, 1978.

     On October 2, 2005, a surveyor requested permission on

behalf of the Lachs to construct a driveway across Tract 09-102

so the Lachs could access Stagecoach Road from their property.



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The National Park Service denied the request because it could not

grant an easement without congressional approval.            However, the

Lachs built a permanent driveway through Tract 09-102 and filed

this action to quiet title.

                               Discussion

       Pursuant to Federal Rule of Civil Procedure 56(c), summary

judgment is proper only if it is demonstrated that "there is no

genuine issue as to any material fact and the moving party is

entitled to a judgment as a matter of law."          Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23, 106 S.Ct. 2548, 91 L.Ed.2d 265

(1986); Stephens v. Erickson, 569 F.3d 779, 786 (7th Cir. 2009).

The burden is upon the moving party to establish that no material

facts are in genuine dispute, and any doubt as to the existence

of a genuine issue must be resolved against the moving party.

Adickes v. S.H. Kress & Company, 398 U.S. 144, 160, 90 S.Ct.

1598, 1610, 26 L.Ed.2d 142, 155 (1970); Stephens, 569 F.3d at

786.    A fact is material if it is outcome determinative under

applicable law.    There must be evidence on which the jury could

reasonably find for the nonmoving party.          Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed.2d

202, 212 (1986); Stephens, 569 F.3d at 786; Wheeler v. Lawson,

539 F.3d 629, 634 (7th Cir. 2008).




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     Summary judgment is inappropriate for determination of

claims in which issues of intent, good faith, and other subjec-

tive feelings play dominant roles.       Ashman v. Barrows, 438 F.3d

781, 784 (7th Cir. 2006).    Upon review, the court does not evalu-

ate the weight of the evidence, judge the credibility of wit-

nesses, or determine the ultimate truth of the matter; rather,

the court will determine whether there exists a genuine issue of

triable fact.   Wheeler, 539 F.3d at 634 (citing Anderson, 477

U.S. at 248, 106 S.Ct. at 2510).

     In deciding a motion for summary judgment, the trial court

must determine whether the evidence presented by the party

opposed to the summary judgment is such that a reasonable jury

might find in favor of that party after a trial.

           The inquiry performed is the threshold in-
           quiry of determining whether there is the
           need for a trial--whether, in other words,
           there are any genuine factual issues that
           properly can be resolved only by a finder of
           fact because they may reasonably be resolved
           in favor of either party.

           [T]his standard mirrors the standard for a
           directed verdict under Federal Rule of Civil
           Procedure 50(a), which is that the trial
           judge must direct a verdict if, under the
           governing law, there can be but one reason-
           able conclusion as to the verdict.

           Anderson, 477 U.S. at 250, 106 S.Ct. at 2511

See also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133,

149-151, 120 S.Ct. 2097, 2109, 147 L.Ed.2d 105, 120-122 (2000)

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(setting out the standard for a directed verdict); Celotex Corp.,

477 U.S. at 322-23, 106 S.Ct. at 2553; Stephens, 569 F.3d at 786;

Argyropoulos v. City of Alton, 539 F.3d 724, 732 (7th Cir. 2008)

(stating that a genuine issue is one on which a reasonable fact

finder could find for the nonmoving party); Springer v. Durfling-

er, 518 F.3d 479, 483 (7th Cir. 2008)(stating that a genuine

issue exists and summary judgment is inappropriate if there is

sufficient evidence for a jury to return a verdict for the

nonmoving party).

     As a preliminary matter, the court must determine whether it

retains subject matter jurisdiction over this case.             The court

previously addressed this issue in its May 26, 2009 Order, and

determined that it retained subject matter jurisdiction over the

limited issue of whether the Lachs had an easement across the

United States' property.     Because the Lachs' primary theory of

recovery extends beyond the issue of easements, the court must

re-address this argument.

      The United States is immune from suit unless it unequivo-

cally waives its immunity.     Dep’t of Army v. Blue Fox, Inc., 525

U.S. 255, 260, 119 S.Ct. 687, 142 L.Ed.2d 718 (1999); United

States v. Nordic Village, Inc., 503 U.S. 834, 841, 106 S.Ct.

2224, 90 L.Ed.2d 841 (1986).        Title 28 U.S.C. §1346(f) waives

sovereign immunity to the extent that a civil action is brought



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"under section 2409a to quiet title to an estate or interest in

real property in which an interest is claimed by the United

States."    A quiet title action must be filed by someone claiming

an interest in the title of the property.         Kinscherff v. United

States, 586 F.2d 159, 160 (10th Cir. 1978); Rock Island Oil &

Refining Co. v. Simmons, 386 P.2d 239, 240 (N.M. 1963).             Members

of the public do not hold an interest in the title to public

roads and cannot bring an action to quiet title under 28 U.S.C.

§1346(f).   See Kinscherff, 586 F.2d at 160 (finding that members

of the public do not have title to public roads); Sw. Four Wheel

Drive Ass’n v. Bureau of Land Mgmt., 363 F.3d 1069, 1071 (10th

Cir. 2004)(finding that members of the public cannot maintain

actions to quiet title to public roads); Long v. Area Manager,

Bureau of Reclamation, 236 F.3d 910, 915 (8th Cir. 2001) (finding

that the right of an individual to use a public road is not a

right or interest in property for purposes of the Quiet Title

Act).

     The Lachs' primary theory of recovery rests on Stagecoach

Road extending beyond the paved portion and overlapping their

property line.    In particular, the Lachs argue that Stagecoach

Road is a public road, and pursuant to Indiana Code §8-20-1-15,

it must extend 20 feet from the centerline, overlapping with

their property.    Although the Lachs' property abuts Stagecoach



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Road, their interest in the road is one vested in the public

generally.    See Kinscherff, 586 F.2d at 160 (finding that the

owner of land abutting a public highway does not have an interest

in the highway beyond that which is invested in the public

generally).   Therefore, the Lachs cannot claim title to Stage-

coach Road.   Because a litigant must claim an interest in title

to bring a suit under 28 U.S.C. §1346(f), the court lacks the

authority to adjudicate this matter under this theory.             See

Kinscherff, 586 F.2d at 160; Long, 236 F.3d at 915 ("[T]he right

of an individual to use a public road is not a right or interest

in property for purposes of the Quiet Title Act").

     Assuming, arguendo, that the court retains subject matter

jurisdiction to adjudicate this matter under the Lachs' primary

theory of recovery, their argument fails.         The Lachs maintain

that Stagecoach Road is a public road, and because of this

Indiana law imposes a right of way easement of either 15 or 20

feet on each side of the centerline of Stagecoach Road so that

Stagecoach Road overlaps with their parcel.         The Lachs base their

argument on their interpretation of Indiana Code §8-20-1-15,

which provides that "A county highway right-of-way may not be

laid out that is less than twenty (20) feet on each side of the

centerline, exclusive of additional width required for cuts,

fills, drainage, utilities, and public safety."



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     Prior to 1988, §8-20-1-15 provided that a highway could be

created when a path is used as such for a period of twenty years

or more.   The relevant inquiry was whether the public used the

road in a continuous manner for the statutory time period.

Zakutansky v. Kanzler, 634 N.E.2d 75, 81 (Ind. App. 1994).              The

record reflects that Stagecoach Road was used by the public since

the 1940s.   (Aff. of Craig Hendrix pp. 2-3); (Aff. of Robert

Thompson p. 2)    Therefore, when the United States obtained title

to this property in 1978, Stagecoach Road had been used as a

public highway for the statutory time period and was vested in

the public prior to the time the statute was amended to eliminate

the provision that allowed for a public highway to be formed by

continuous public use for 20 years.        See Zakutansky, 634 N.E.2d

at 79 (finding that the amendment to §8-20-1-15 did not divest

the public of the right to use a public highway formed prior to

the amendment).

     Although Stagecoach Road is a public highway, §8-20-1-15 as

amended does not establish the bounds of a roadway that was

formed by continuous public use.        Rather, the amended §8-20-1-15

provides the procedure the county must follow to establish a

public highway.    The width of a public road established by con-

tinuous public use is either determined by the plain language of

the deed to the private property the road encumbers or by the



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width of the roadway as it was used by the public.            Zakutansky,

634 N.E.2d at 79 (holding that the width of the road was equal to

the width specifically stated in the deed to the encumbered

property); Cozy Home Realty Co. v. Ralston, 14 N.E.2d 917, 918

(Ind. 1938) ("[H]ighways used as such for 20 years shall continue

as located and as of their original width"); Hart v. The Trustees

of Bloomfield Township, 15 Ind. 226 (1860)("[i]t was a public

highway under the statute, and its width at the end of twenty

years was its established width.").         The United States’ deed does

not specifically provide the width of Stagecoach Road on its

face.   Although the deed states that it is subject to roads and

highways located on the property, the City of Portage did not

take responsibility for Stagecoach Road until some time between

1980 and 1984, and did not record it in the city registry until

2003.   The United States' deed could not refer to a registry

entry that did not exist at the time it was prepared.              Therefore,

the width of Stagecoach Road is not stated in the plain terms of

the deed or indicated by reference.

     For the reasons set forth above, the width of Stagecoach

Road must be determined by its use during the 20 year statutory

period that established Stagecoach Road as a public highway.               It

is clear that Stagecoach Road was used continuously by the public

to the extent that it is paved.         Hendrix’s affidavit provides



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that the City of Portage took responsibility for the road between

1980 and 1984, and in addition to the paved portion of Stagecoach

Road, the city maintained the berm up to the Lachs' property

line.   Section 8-20-1-15     was amended in 1988 and eliminated the

provision that recognized a public highway after 20 years of

continuous public use.     Because Portage did not begin to maintain

the berm of Stagecoach Road until some time between 1980 and

1984, it did not satisfy the statutory requirement of maintaining

the area up to the Lachs' property line for 20 years preceding

the statute’s amendment.      The record is devoid of any other

evidence that shows that the public used the area from the paved

portion of Stagecoach Road to the Lachs' property line continu-

ously for 20 years preceding the amendment to §8-20-1-15.

      Furthermore, the width of Stagecoach Road should be deter-

mined according to the unamended statute that provided for its

formation.    The unamended statute provides that "[a]ll county

highways heretofore laid out according to law, or used as such

for twenty (20) years or more, shall continue as originally

located and as of their original width, respectively, until

changed according to law."      I.C. §8-20-1-15 (West 1976) (emphasis

added).   The county has not taken formal steps to change the

width of Stagecoach Road from that which was established by

continuous public use.     For these reasons, Stagecoach Road does



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not extend beyond the paved portion of the highway and does not

abut the Lachs' property so that they may make reasonable use of

the highway.

      Although the court lacks subject matter jurisdiction to

adjudicate this matter on the Lachs' primary theory of recovery,

the court retains subject matter jurisdiction to determine wheth-

er the Lachs have an easement over the United States' property.1

See Kinscherff, 586 F.2d at 161 (finding that easements are

property interests that are subject to actions to quiet title).

An easement can be created through another’s property by grant,

prescription, or implied use; Brown v. Heidersbach, 360 N.E.2d

614, 618 (Ind. App. 1977); Pardue v. Smith, 875 N.E.2d 285, 291

(Ind. App. 2007).      The parties agree that neither the United

States or its predecessors in interest granted the Lachs an

easement over Tract 09-102.

      An easement by prescription is created when the parties use

the property in an "actual, hostile, open, notorious, continuous,

uninterrupted" manner for a period of 20 years.            Wilfong v.

Cessna Corp., 838 N.E.2d 403, 405 (Ind. 2005).            To establish an

easement by prescription, the claimant must have used and had

control over the land in some defined way, without interruption

or substantial change, for the statutory period.             Stringham v.

     1
       In denying the United States' Motion to Dismiss, the court limited the
issues to the Lachs' claim for an easement over the United States' property.

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Chicago, I.& L. Ry. Co., 141 N.E. 247, 248 (Ind. App. 1923);

Wilfong, 838 N.E.2d at 406 (finding that a claimant of a pre-

scriptive easement "must establish clear and convincing proof of

(1) control, (2) intent, (3) notice, and (4) duration").               An

easement by prescription is more limited than adverse possession

in that the claimant’s use of the land must have been for a

specific purpose.      Hoose v. Doody, 886 N.E.2d 83, 94 (Ind. App.

2008).

      The Lachs did not have the requisite control over the area

where their driveway is located to warrant the finding of a

prescriptive easement against the United States’ predecessors in

interest to the property.2       The Lachs' and Ewen’s prior use of

Tract 09-102 was limited to farming and accessing Stagecoach Road

at various points along their 35.17 acre parcel.             There is no

evidence that either the Lachs or their predecessors used the

specific area that is now the Lachs' driveway continuously for

the defined purpose of accessing Stagecoach Road.             See Michel v.

United States, 65 F.3d 130, 131 (9th Cir. 1995)(finding an ease-

ment because the land owner had a historic right of access,

including vehicular access, for any lawful purpose over specific



     2
       A claimant cannot obtain an easement by prescription against the United
States. Randall v. Bd. of Comm’rs of Tippecanoe County, 131 N.E. 776, 779
(Ind. App. 1921); Verrill v. School City of Hobart, 52 N.E.2d 619, 620 (Ind.
1944). Therefore, the Lachs must demonstrate that the easement was estab-
lished while Inland Steel owned the parcels.

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roads and trails in the government’s refuge lands).                Intermittent

use of the land for various purposes is insufficient to put the

other party on notice of the claimant's intent to exert control

over the specific area for purposes of accessing the road and

does not meet the specific purpose requirement necessary to

establish a prescriptive easement.       See Hoose, 886 N.E.2d at 94.

Even if the Lachs and their predecessors consistently farmed the

area for the statutory period, placing a driveway over the tract

increases the burden on the United States’ property and exceeds

the scope of their prior use.       See Drees Co., Inc. v. Thompson,

868 N.E.2d 32, 41 (Ind. App. 2007)("The owner of the dominant

estate cannot subject the servient estate to extra burdens");

Tomkins v. Village of Tinley Park, 651 F.Supp. 50, 54 (N.D. Ill.

1986)(stating that the owner of a property can prevent the burden

of an easement from being increased).        Therefore, the Lachs' use

of the property during the statutory period was not specific

enough in purpose to create a prescriptive easement for the

driveway.

      An implied easement can arise from necessity or prior use.

Pardue, 875 N.E.2d at 291.      An implied easement of necessity only

arises in cases where the property owner would be denied access

to a public road if an easement was not implied.            Pardue, 875

N.E.2d at 291; Hysel v. Kimmel, 834 N.E.2d 1111, 1114 (Ind. App.



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2005).   Because the Lachs have access to Stagecoach Road through

the Ewen property, the Lachs cannot claim an implied easement by

necessity.    Furthermore, an easement of necessity and an easement

by prior use only will be implied "where, during the unity of

title, an owner imposes an apparently permanent and obvious

servitude on one part of the land in favor of another part and

the servitude is in use when the parts are severed."               Hysel, 834

N.E.2d at 1114 (the plaintiff must establish that "(1) there was

common ownership at the time the estate was severed; (2) the

common owner’s use of part of his land to benefit another was

apparent and continuous; (3) the land was transferred; and (4) at

severance it was necessary to continue the preexisting use for

the benefit of the dominant estate.").        There never was unity of

ownership between the Lachs' property and the United States’

Tract 09-102, therefore neither an easement of prior use or

necessity can be implied.

      Because the court limited the issue to determining whether

the Lachs had an easement over the United States' property, and

their prior use of the land did not give rise to an easement for

the purpose of accessing Stagecoach Road, the Motion for Summary

Judgment [DE 29] filed by the United States on July 16, 2010, is

GRANTED, and the Cross Motion for Summary Judgment [DE 39] filed

by the plaintiffs on September 7, 2010, is DENIED.



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      ENTERED this 2nd day of December, 2010




                                    s/ Andrew P. Rodovich
                                       United States Magistrate Judge




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